

Lysiak v Southtowns Fitness Ctr. (2017 NY Slip Op 09044)





Lysiak v Southtowns Fitness Ctr.


2017 NY Slip Op 09044


Decided on December 22, 2017


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 22, 2017
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: PERADOTTO, J.P., CARNI, DEJOSEPH, CURRAN, AND WINSLOW, JJ.


1446 CA 17-01012

[*1]MARY LYSIAK, PLAINTIFF-APPELLANT,
vSOUTHTOWNS FITNESS CENTER, DEFENDANT-RESPONDENT. 






GIBSON, MCASKILL &amp; CROSBY, LLP, BUFFALO (MICHAEL P. SULLIVAN OF COUNSEL), FOR PLAINTIFF-APPELLANT. 
GOLDBERG SEGALLA LLP, BUFFALO (JULIE P. APTER OF COUNSEL), FOR DEFENDANT-RESPONDENT. 


	Appeal from an order of the Supreme Court, Erie County (Mark J. Grisanti, A.J.), entered December 13, 2016. The order granted the motion of defendant for summary judgment dismissing the complaint and denied the cross motion of plaintiff for partial summary judgment on the issue of negligence. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Entered: December 22, 2017
Mark W. Bennett
Clerk of the Court








